                Case 1:19-cv-01868-RJL Document 37 Filed 03/31/21 Page 1 of 4




                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA



    UNITED STATES OF AMERICA,

            Plaintiff,

    v.                                                        Civil Action No. 1:19-cv-1868 (RJL)

    OMAROSA MANIGAULT NEWMAN,

            Defendant.


             JOINT RESPONSE TO COURT ORDER AND REQUEST FOR STATUS
                                  CONFERENCE

           The parties, United States and Omarosa Manigault Newman, by and through their

respective counsel, respond as follows to the Court’s Order of March 16, 2021, requiring the parties

to submit by today a proposed protective order protecting the confidentiality of documents to the

Trump Campaign:

           1.       On June 17, 2020, Plaintiff filed both a motion for protective order and motion to

compel discovery. See Pl.’s Renewed Mot for Protective Ord., ECF No. 17; Pl.’s Mot. to Compel,

ECF No. 18.

           2.       While the motions to compel and for protective order were pending, discovery in

this case proceeded. During this time, Plaintiff produced approximately 1,415 pages of documents

and Defendant produced approximately 379 pages of documents and a number of audio and/or

video files. Both parties exchanged responses to Requests for Admission, and Defendant

responded to Plaintiff’s Interrogatories.1




1
    Defendant never served interrogatories on Plaintiff.
                Case 1:19-cv-01868-RJL Document 37 Filed 03/31/21 Page 2 of 4




           3.       Following this discovery, Plaintiff moved for summary judgment on December 7,

2020 and Defendant cross-moved for summary judgment on February 4, 2021. See Pl.’s Mot. for

Summ. J., ECF No. 24; Def.’s Mot. for Summ. J., ECF No. 32. As of this filing, both motions for

summary judgment are fully briefed.

           4.       Defendant contends that summary judgment is not ripe as she wants to conduct

discovery. Plaintiff contends that Defendant waived that contention by filing her own motion for

summary judgment, see ECF No. 32, and by failing to satisfy the requirements of Fed. R. Civ. P

56(d). See Pl.’s Reply ISO Mot. for Summ. J. at 13-14, ECF No. 31; see generally United States

ex rel. Folliard v. Gov’t Acquisitions, Inc., 764 F.3d 19, 26 (D.C. Cir. 2014) (setting forth “three

criteria” that a party “must satisfy” to obtain relief under Fed. R. Civ. P. 56(d)).

           5.       On March 16, 2021, the Court granted Plaintiff’s motion to compel and granted in

part and denied in part Plaintiff’s motion for protective order. Order of March 16, 2021 at 1, ECF

No. 36. In its order, the Court declined to enter a protective order with respect to the deposition of

Ashley Cheung, Defendant’s Request for Production Nos. 3-5 and 11, and Request for Admission

No. 28,2 and ordered the parties to submit by today a joint proposed protective order covering “any

documents in this litigation that are subject to the confidentiality agreement between defendant

and Donald Trump for President, Inc.” Order of March 16, 2021, at 2.

           6.       The parties disagree as to the scope of the Court’s Order and respectfully seek the

Court’s guidance on that issue. Specifically, Defendant has requested the depositions of other

individuals with direct knowledge about “defendant’s termination date or location of her personal

effects,” including the three individuals who provided affidavits in support of Plaintiff’s Motion

for Summary Judgment. Plaintiff disagrees with Defendant’s characterization of the knowledge of




2
    As of this filing, Defendant has already responded to Request for Admission No. 28.
                                                           2
            Case 1:19-cv-01868-RJL Document 37 Filed 03/31/21 Page 3 of 4




the individuals whose depositions she has requested since the Court’s March 16, 2021 Order, and

contends that Defendant’s filing of her motion for summary judgment after Plaintiff’s motion is

contrary to the position she is now taking as to the continued need for discovery.

       7.       Accordingly, the parties respectfully request that the Court schedule a telephonic

status conference to address that issue, to establish a deadline for the ordered discovery, and to set

a schedule for supplemental briefing (if necessary) on the cross motions for summary judgment in

connection with the ordered discovery.

       8.      The parties have conferred, and Defendant does not believe a confidentiality order

is necessary to further protect the confidentiality of the documents she has been ordered to produce

because Defendant believes that the issue is moot, and a protective order is unneeded and

unwarranted based on the Memorandum Opinion & Order issued on March 30, 2021 in Denson v.

Donald J. Trump for President, Inc., 20-cv-4737 (S.D.N.Y.), ECF No. 48. Plaintiff also does not

request a confidentiality order with respect to these documents. Therefore, the parties respectfully

request that the Court excuse them from the portion of its Order of March 16 requiring them to

submit a joint proposed protective order covering “any documents in this litigation that are subject

to the confidentiality agreement between defendant and Donald Trump for President, Inc.” Order

of March 16, 2021, at 2.



Dated: March 31, 2021                          Respectfully submitted,

                                               BRIAN M. BOYNTON
                                               Acting Assistant Attorney General

                                               ALEXANDER K. HAAS
                                               Branch Director

                                               JACQUELINE COLEMAN SNEAD
                                               Assistant Branch Director

                                                  3
Case 1:19-cv-01868-RJL Document 37 Filed 03/31/21 Page 4 of 4




                           /s/ Christopher M. Lynch
                           Christopher M. Lynch
                           D.C. Bar # 1049152
                           Trial Attorney
                           United States Department of Justice
                           Civil Division,
                           Federal Programs Branch
                           1100 L Street, N.W.
                           Washington, D.C. 20005
                           Tel.: (202) 353-4537
                           Fax: (202) 616-8470
                           Email: christopher.m.lynch@usdoj.gov

                           Attorneys for Plaintiff


                           /s/ John M. Phillips
                           John M. Phillips
                           D.C. Bar # 1632674
                           Law Office of John M. Phillips, LLC
                           212 North Laura Street
                           Jacksonville, FL 32202
                           Tel.: (904) 444-4444
                           Fax: (904) 508-0683
                           Email: jphillips@foloridajustice.com
                                   erica@floridajustice.com

                           Attorneys for Defendant




                              4
